Filed 8/26/24 P. v. Savala CA3
                                           NOT TO BE PUBLISHED
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
publication or ordered published, except as specified by rule 8.1115(b). This opinion has not been certified for publication
or ordered published for purposes of rule 8.1115.




                IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA
                                      THIRD APPELLATE DISTRICT
                                                     (Sacramento)
                                                            ----




 THE PEOPLE,                                                                                   C099571

                    Plaintiff and Respondent,                                    (Super. Ct. No. 23FE005618)

           v.

 ALBERT SAVALA,

                    Defendant and Appellant.




         Appointed counsel for defendant Albert Savala filed an opening brief that sets
forth the facts of the case and asks this court to review the record and determine whether
there are any arguable issues on appeal. (People v. Wende (1979) 25 Cal.3d 436.)
Finding no arguable errors that would result in a disposition more favorable to Savala, we
will affirm the judgment.




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                               FACTUAL BACKGROUND
                                                                              1
       The People charged Savala with arson (Pen. Code, § 451, subd. (b)) and
possession of ammunition by a prohibited person (§ 30305, subd. (a)). As to aggravating
circumstances, the People alleged that: (1) the crime involved great violence, great
bodily harm, threat of bodily harm, or other acts disclosing a high degree of cruelty,
viciousness, or callousness (Cal. Rules of Court, rule 4.421(a)(1)),2 (2) Savala had
engaged in violent conduct indicating a serious danger to society (rule 4.421(b)(1));
(3) Savala’s prior convictions were numerous or of increasing seriousness (rule
4.421(b)(2)); and (4) Savala had served a prior prison term (rule 4.421(b)(3)).
       Prior to trial, the trial court denied Savala’s Marsden motion. (See People v.
Marsden (1970) 2 Cal.3d 118.) At trial, Savala’s mother testified that she and her
husband left the house they lived in with Savala after they heard Savala “hollering” in the
early morning of April 18, 2023. When they returned, part of the house was on fire. A
responding officer observed evidence of a fire and shell casings from ammunition outside
the house. Another officer found exploded ammunition cartridges in the debris where the
fire occurred. He also found live ammunition rounds in the debris and in Savala’s
bedroom. A fire investigator testified that in his opinion the fire started on the front
porch and was intentionally set by a person.
       Savala did not testify. In closing argument, defense counsel argued the
prosecution failed to prove the arson charge beyond a reasonable doubt. Defense counsel
conceded Savala was guilty of unlawfully possessing ammunition.
       The jury found Savala guilty of arson and possession of ammunition by a
prohibited person. The People dismissed all alleged aggravating circumstances except



1      Undesignated statutory references are to the Penal Code.
2      Undesignated rule references are to the California Rules of Court.

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for the circumstance that Savala’s prior convictions were numerous or of increasing
seriousness. The trial court ultimately found this aggravating circumstance to not be true.
The court imposed the low term of three years for the arson and a concurrent term of 16
months (the low term) for the ammunition possession.
       Savala timely appealed.
                                      DISCUSSION
       Appointed counsel filed an opening brief that sets forth the facts and procedural
history of the case and asks this court to review the record and determine whether there
are any arguable issues on appeal. (People v. Wende, supra, 25 Cal.3d 436.) Savala was
advised by counsel of his right to file a supplemental brief within 30 days from the date
the opening brief was filed. More than 30 days have elapsed, and Savala has not filed a
supplemental brief.
       Having undertaken an examination of the entire record pursuant to Wende, we find
no arguable errors that are favorable to Savala. Accordingly, we will affirm the
judgment.
                                     DISPOSITION
       The judgment is affirmed.


                                                     /s/
                                                 EARL, P. J.



We concur:


    /s/
ROBIE, J.


    /s/
RENNER, J.

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